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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
l ....................................................... l

THUY LE,

Civil Action No. l:lS-cv-07709 (ER)
Plaintiff,

-against-
NOTICE OF MOTION TO DISMISS

MACY’S INC.; MACY’S RETAIL
HOLDINGS, INC.; MACY’S CORPORATE
SERVICES, INC., BLUMERCURY and jointly
and individually MARGUERITE (MAGGIE)
DEWINE, REXANA RODRIGUEZ and KATE
FISHER,

Defendants.
l ....................................................... l

To: Laurie E. Morrison, Esq.

Law Offices of Laurie E. Morrison 100

Church Street, 8th Floor

New York, New York 10007

Attorney for Plaintijj‘

PLEASE TAKE NOTICE that Defendants Macy’s Inc., Macy’s Retail Holdings, Inc.
and Macy’s Corporate Services, Inc. (hereinafter “the Macy’s Defendants”) Will move before the
Honorable Edgardo Ramos, United States District Judge for the United States District Court for
the Southem District of New York, at the Thurgood Marshall Courthouse, 40 Foley Square, NeW
York, New York 10007, for an order pursuant to Fed. R. Civ. P. lZ(b)(6) dismissing the
Complaint With prejudice on the grounds that it fails to state a claim upon Which relief may be
granted against them.

PLEASE TAKE FURTHER NOTICE that in support of their motion, the Macy’s

Defendants Will rely on the accompanying Memorandum of Law in Support of the Macy’s

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Defendants’ Motion to Dismiss the Complaint, any oral argument heard by the Court, and upon
all other papers and proceedings herein.
Dated: January ll, 2019

SCHOEMAN UPDIKE KAUFMAN
& GERBER LLP

MA//g

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Attorneys for Defendants Macy’S Inc.,
Macy’s Retail Holdings, Inc., Macy’s
Corporate Services, Inc., and Bluemercury
Inc.

